         CASE 0:25-cv-01649-JWB-ECW                 Doc. 1       Filed 04/23/25       Page 1 of 30




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


    X CORP.,

                                   Plaintiff,
          -against-
                                                          Case No. _____________
    KEITH ELLISON, in his official capacity, as
    Attorney General of Minnesota,                        JURY TRIAL DEMANDED

                                   Defendant.


                                                COMPLAINT

         Plaintiff X Corp., by and through its attorneys, Cahill Gordon & Reindel LLP and

Mohrman, Kaardal & Erickson, P.A., alleges for its complaint against the above-named Defendant,

as follows:

                                     NATURE OF THE ACTION

         1.      Plaintiff X Corp. brings this action challenging the constitutionality and legal

validity of Minnesota Statutes § 609.771 (“Section 609.771”), which prohibits—under threat of

injunctive or equitable relief and criminal penalties, including imprisonment and significant

fines—“person[s],” which includes social media companies, such as X Corp.,1 from (i)

disseminating or (ii) entering into a contract to disseminate certain election-related content of

which the State of Minnesota disapproves and deems to be a “deep fake.”




1
  Section 609.771 does not define “person,” and under Minnesota law “‘Person’ may extend and be applied
to bodies politic and corporate, and to partnerships and other unincorporated associations.” Minn. Stat.
§ 645.44(7); see § 645.44(1) (this definition applies to “Minnesota Statutes or any legislative act,” including
the word “person” “unless another intention clearly appears”); Webb v. State, 2021 WL 161959, at *3
(Minn. Ct. App. Jan. 19, 2021) (“[Section 645.44(7)’s definition of person] applies to all Minnesota statutes,
including criminal statutes, unless otherwise provided.”).
       CASE 0:25-cv-01649-JWB-ECW               Doc. 1     Filed 04/23/25      Page 2 of 30




       2.      The statute (a) violates the free speech rights of X and other social media platforms

under the First and Fourteenth Amendments of the United States Constitution and Article I, Section

3, of the Minnesota Constitution, both facially and as-applied to Plaintiff; (b) is preempted by the

immunity afforded to X Corp. by 47 U.S.C. § 230(c)(1); and (c) violates the First and Fourteenth

Amendments of the United States Constitution, because its requirements are so vague and

unintelligible that social media platforms cannot understand what the statute permits and what it

prohibits, which will lead to blanket censorship, including of fully protected, core political speech.

       3.      Section 609.771 has the effect of impermissibly replacing the judgments of social

media platforms about what content may appear on their platforms with the judgments of the State.

And it imposes liability on the platforms to the extent that their judgments about content

moderation are inconsistent with those imposed by the State.

       4.      Worse yet, Section 609.771 creates an enforcement system, backed with the threat

of criminal liability, that incentivizes platforms to err on the side of removing any content that

presents even a close call as to whether it is a “deep fake” prohibited by the statute. Under this

enforcement system, platforms that keep up content presenting a close call under the statute run

the risk of criminal penalties, but there is no penalty for erring on the side of too much censorship.

This system will inevitably result in the censorship of wide swaths of valuable political speech and

commentary and will limit the type of “uninhibited, robust, and wide-open” “debate on public

issues” that core First Amendment protections are designed to ensure. New York Times Co. v.

Sullivan, 376 U.S. 254, 270 (1964).

       5.      All that is necessary to violate Section 609.771—and risk the imposition of jail

time—is for a social media company, like X Corp., to “disseminate[] a deep fake” or even just

“enter[] into a contract or other agreement to disseminate a deep fake” when the company “knows



                                                  2
       CASE 0:25-cv-01649-JWB-ECW               Doc. 1     Filed 04/23/25      Page 3 of 30




or acts with reckless disregard about whether” the item is a deep fake, as long as the item is (1)

disseminated within 90 days before a political party nominating convention or after the start of the

absentee voting period prior to a presidential nomination primary, or a regular or special state or

local primary or general election, (2) made without the consent of the individual depicted, and (3)

made with the intent to injure a candidate or influence the result of an election. See § 609.771(2).

       6.      A “Deep fake,” according to Section 609.771, is “any video recording, motion-

picture film, sound recording, electronic image, or photograph, or technological representation of

speech or conduct substantially derivative thereof: (1) that is so realistic that a reasonable person

would believe it depicts speech or conduct of an individual who did not in fact engage in such

speech or conduct; and (2) the production of which was substantially dependent upon technical

means, rather than the ability of another individual to physically or verbally impersonate such

individual.” § 609.771(1)(c). According to Defendant Ellison, deep fakes are “highly realistic

video, audio, and other digital content generated by artificial intelligence (AI) that show a person

doing or saying something they did not.”2

       7.      Here is an example of one. In March 2023, an X user named Eliot Higgins

(@EliotHiggins) used artificial intelligence to imagine what the arrest of Donald Trump could

look like as a way of providing political commentary reminding the public that the then-criminal

prosecutions of now-President Trump constituted acts of “violence of the state” perpetrated on the

current president:3




2
  Ex. 1 (Defendant Attorney General Keith Ellison’s Memorandum Opposing Preliminary Injunction at 4,
Kohls v. Ellison, No. 24-cv-03754 (LMP/DLM) (D. Minn. Nov. 1, 2024), ECF No. 19 (“Ellison PI Opp.”)).
3
     Ex.     2    (Eliot   Higgins    (@EliotHiggins),   X      (Mar.    20,    2023,  5:22    PM),
https://x.com/EliotHiggins/status/1637927681734987777 (last visited Apr. 23, 2025)).
                                                 3
       CASE 0:25-cv-01649-JWB-ECW              Doc. 1     Filed 04/23/25     Page 4 of 30




       8.      Thus, a social media company, like X Corp., could be accused of violating the

statute—and potentially be subjected to criminal liability—for merely having these pictures

displayed on its platform within the time periods set forth under Section 609.771(2)(a)(3)(i)–(ii),

as doing so would be contracting with a user (through Terms of Service), resulting in the

“dissemination” of a deep fake that satisfies the three requirements of Section 609.771(2) (quoted

above in Paragraph 5), as long as the company “knows or acts with reckless disregard” about

whether the material in question was a “deep fake” under the statute. This cannot withstand

constitutional scrutiny.

       9.      As the United States Supreme Court has observed, our strong First Amendment

protections for such speech are based on our nation’s “profound national commitment” to

protecting “uninhibited, robust, and wide-open” “debate on public issues,” even if it often

“include[s] vehement, caustic, and sometimes unpleasantly sharp attacks on government and

public officials.” Sullivan, 376 U.S. at 270. As such, the First Amendment provides the strongest

of protections for such speech, and will not tolerate even indirect efforts by the government to

incentivize others to censor or restrict such speech. See, e.g., Smith v. Cal., 361 U.S. 147, 154–

                                                4
       CASE 0:25-cv-01649-JWB-ECW               Doc. 1     Filed 04/23/25      Page 5 of 30




155 (1959) (striking down, on First Amendment grounds, city ordinance providing for strict

liability on booksellers for possession of books later judged to be obscene, which encouraged “self-

censorship” and “impeded” the “distribution of all books, both obscene and not obscene”);

National Rifle Ass’n of Am. v. Vullo, 602 U.S. 175, 190 (2024) (“A government official cannot

coerce a private party to punish or suppress disfavored speech on her behalf.”); Interstate Cir., Inc.

v. City of Dallas, 390 U.S. 676, 678, 684 (1968) (recognizing that a film exhibitor’s First

Amendment rights were implicated by a law requiring it to inform the government whether films

were “suitable” for children); NetChoice, LLC v. Bonta, 113 F.4th 1101, 1121 (9th Cir. 2024)

(strict scrutiny applies to governmental efforts to “deputize[] private actors into censoring speech

based on its content”).

       10.     Section 609.771’s problematic enforcement system provides enormous incentives

for social media platforms, such as X, to censor speech on their platforms that the government

disfavors—here, content that constitutes a “deep fake” under the statute. It does this by providing

for enforcement of violations of the statute through (i) criminal penalties, including jail time and

fines, and (ii) causes of action that can be brought by the Minnesota Attorney General, every

Minnesota county attorney, and every Minnesota city attorney for injunctive or equitable relief

against persons “violating” or “reasonably believed to be about to violate” the statute.

§§ 609.771(3), (4).

       11.     Platforms may be prosecuted criminally or can be sued if governmental officials,

depicted individuals, or candidates think the platform has not censored enough content; but the

platform may not be prosecuted or sued by anyone if it has arguably censored too much content

under the statute. The result is a system that highly incentivizes platforms to remove any content

that presents a close call to avoid criminal penalties and costly lawsuits altogether.



                                                  5
       CASE 0:25-cv-01649-JWB-ECW               Doc. 1     Filed 04/23/25      Page 6 of 30




       12.     Section 609.771 suffers from a compendium of serious First Amendment

infirmities. Primary among them is that Section 609.771 imposes a system of prior restraint on

speech, which is the “most serious and the least tolerable infringement on First Amendment

rights.” Neb. Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976). The statute authorizes lawsuits to

be brought and injunctions to issue against individuals “reasonably believed to be about to violate”

the statute—i.e., it authorizes injunctions preventing individuals from publishing “deep fakes”

before they are even published. § 609.771(4). This constitutes a classic prior restraint and cannot

withstand constitutional scrutiny. Section 609.771’s authorization of injunctive or equitable relief

as to content that has already been disseminated (i.e., as to persons that are “in the course of

violating” the statute, § 609.771(4)) also constitutes a prior restraint on speech, because it

authorizes speech to be taken down prior to a final determination that the content is unprotected

under the First Amendment. See, e.g., Garcia v. Google, Inc., 786 F.3d 733, 747 (9th Cir. 2015)

(forcing Google through “takedown order” to remove content previously published on YouTube

prior to a final determination that the content was unprotected amounted to a “classic prior restraint

on speech”).

       13.     Section 609.771 also violates the First Amendment because it runs counter to the

United States Supreme Court’s recent decision in Moody v. NetChoice, LLC, in which the Court

held, in no uncertain terms, that when a social media platform “present[s] a curated and ‘edited

compilation of [third party] speech,’” that presentation “is itself protected speech.” 603 U.S. 707,

744 (2024) (quoting Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Boston, 515 U.S. 557,

570 (1995)); see also Moody, 603 U.S. at 729–30 (“A private party’s collection of third-party

content into a single speech product (the operators’ ‘repertoire’ of programming) is itself

expressive, and intrusion into that activity must be specially justified under the First



                                                  6
       CASE 0:25-cv-01649-JWB-ECW                Doc. 1     Filed 04/23/25      Page 7 of 30




Amendment.”); id. at 738 (quoting Miami Herald Pub. Co. v. Tornillo, 418 U.S. 241, 258 (1974)

(“The choice of material, the decisions made [as to] content, the treatment of public issues—

whether fair or unfair—all these constitute the exercise of editorial control and judgment. . . . For

a paper, and for a platform too.”)).4 Because Section 609.771 impermissibly replaces the

judgments of the covered platforms about what speech may be permitted on their platforms with

those of the government, it cannot be reconciled with Moody.

        14.    Section 609.771 disregards numerous significant First Amendment holdings by the

Supreme Court in Moody—specifically, that (i) it is not a “valid, let alone substantial” interest for

a state to seek “to correct the mix of speech” that “social-media platforms present,” id. at 740; (ii)

a “State ‘cannot advance some points of view by burdening the expression of others,’” id. at 744

(quoting Pac. Gas & Elec. Co. v. Pub. Utilities Comm’n of Cal., 475 U.S. 1, 20 (1986)); (iii) the

“government may not, in supposed pursuit of better expressive balance, alter a private speaker’s

own editorial choices about the mix of speech it wants to convey,” id. at 734; (iv) “it is no job for

government to decide what counts as the right balance of private expression—to ‘un-bias’ what it

thinks biased, rather than to leave such judgments to speakers and their audiences. That principle

works for social-media platforms as it does for others,” id. at 719; and (v) “[h]owever imperfect

the private marketplace of ideas,” a “worse proposal” is “the government itself deciding when

speech [is] imbalanced, and then coercing speakers to provide more of some views or less of

others,” id. at 733. See also Hustler Mag., Inc. v. Falwell, 485 U.S. 46, 56 (1988) (“[I]t is a central

tenet of the First Amendment that the government must remain neutral in the marketplace of

ideas.”).



4
 Unless otherwise indicated, emphases in quotes are added and internal citations and quotations are
omitted.

                                                  7
       CASE 0:25-cv-01649-JWB-ECW                Doc. 1     Filed 04/23/25       Page 8 of 30




        15.     Section 609.771 also runs counter to the First Amendment’s staunch protection of

core political speech. Section 609.771 censors speech about “public issues and debate on the

qualifications of candidates,” to which the “First Amendment affords the broadest protection” to

ensure the “unfettered interchange of ideas for the bringing about of political and social changes

desired by the people.” McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 346 (1995). It imposes

unintelligible prohibitions on allowing a specific category of speech under threat of enormous

liability if it is not removed to the government’s satisfaction. The statute greatly incentivizes

covered platforms to censor all content that could reasonably fall within the statute’s purview to

avoid substantial enforcement costs. This, in turn, will severely chill important political speech—

specifically, the use of exaggerated or unfavorable visual means to undermine and combat political

opponents, which, as the Supreme Court has recognized, is ingrained in the historical fabric of

U.S. political commentary and subject to the strongest of First Amendment protections.

        16.     Whether it be “Walt McDougall’s characterization” in 1884 “of Presidential

candidate James G. Blaine’s banquet with the millionaires at Delmonico’s as ‘The Royal Feast of

Belshazzar,’” or contemporary imaginings of Donald Trump’s arrest,5 or what a second term under

President Biden would look like,6 “graphic depictions and satirical cartoons have played a

prominent role in public and political debate,” and “it is clear that our political discourse would

[be] considerably poorer without them.” Falwell, 485 U.S. at 54–55. Indeed, “YouTube videos,


5
 Ex. 2 (Eliot Higgins (@EliotHiggins), X (Mar. 20, 2023, 5:22 PM)); see also Ex. 3 (MNHouseInfo, House
Floor Session       3/30/23 –        Part 2 (at 1:21:10),           YOUTUBE (Mar. 30,             2023),
https://www.youtube.com/watch?v=OyAZkqMGgMQ&t=4870s (last visited Apr. 23, 2025)) (Bill
Sponsor, Minnesota Representative Zack Stephenson, advocating for the law to cover the images posted by
Higgins). All exhibit transcripts, which were downloaded directly from the websites, are auto-generated
and uncertified. The transcripts and audios were reviewed to confirm the accuracy of the portions quoted
herein.
6
  Ex. 4 (GOP, Beat Biden, YOUTUBE (Apr. 25, 2023), https://www.youtube.com/watch?v=kLMMxgtxQ1Y
(last visited Apr. 23, 2025)).

                                                   8
      CASE 0:25-cv-01649-JWB-ECW               Doc. 1     Filed 04/23/25     Page 9 of 30




Facebook posts, and X tweets are the newspaper advertisements and political cartoons of today,

and the First Amendment protects an individual’s right to speak regardless of the new medium

these critiques may take.” Kohls v. Bonta, 752 F. Supp. 3d 1187, 1195–96 (E.D. Cal. 2024)

(holding that California Assembly Bill (“AB”) 2839, providing causes of action against individuals

who post certain election-related “materially deceptive content” generated with artificial

intelligence, likely violated the First Amendment on its face because the statute’s “legitimate

sweep pales in comparison to the substantial number of its applications . . . which are plainly

unconstitutional”).

       17.     There is a long history of the strongest of First Amendment protections for speech

critical of government officials and candidates for public office that includes tolerance for

potentially false speech made in the context of such criticisms. And there is a long history of

skepticism of any governmental attempts to regulate such content, no matter how well-intentioned

they may be. As both the Supreme Court and Judge Learned Hand have noted, “[t]he First

Amendment” “presupposes that right conclusions are more likely to be gathered out of a multitude

of tongues than through any kind of authoritative selection. To many, this is, and always will be,

folly; but we have staked upon it our all.” Sullivan, 376 U.S. at 270 (quoting United States v.

Associated Press, 52 F. Supp. 362, 372 (S.D.N.Y. 1943) (Hand, J.)). Section 609.771 runs counter

to these principles by attempting to impose by “authoritative selection” the permissible content on

social media platforms, rather than allowing the “multitude of tongues” engaging in political

debate and commentary on those platforms to do so.

       18.     Accordingly, Section 609.771 violates the First Amendment of the United States

Constitution and Article I, Section 3, of the Minnesota Constitution, both facially and as-applied

to X Corp. Section 609.771 imposes a prior restraint on speech that forces platforms to censor



                                                9
         CASE 0:25-cv-01649-JWB-ECW                Doc. 1   Filed 04/23/25      Page 10 of 30




only certain election-related content of which the State of Minnesota disapproves and also directly

and impermissibly interferes with the constitutionally protected content-moderation speech rights

of social media platforms like X. And Section 609.771 does so notwithstanding that less speech-

restrictive alternatives would advance Minnesota’s “interest in electoral integrity.”7

          19.     Section 609.771 also directly contravenes the immunity provided to social media

platforms by 47 U.S.C. § 230(c)(1), which prohibits treating interactive computer service providers

like X Corp. as the “publisher or speaker of any information provided by another information

content provider.” Section 609.771 does so because it provides causes of action for “injunctive or

equitable relief” and for criminal penalties, including imprisonment, against platforms such as X

if they disseminate, or enter into an agreement to disseminate, user content that violates the statute.

          20.     So too does Section 609.771 violate the First and Fourteenth Amendments of the

United States Constitution for vagueness.           The statute’s requirements are so vague and

unintelligible that social media platforms cannot understand how to comply with them; thus, those

subject to its language will be compelled to over-censor speech to avoid costly litigation potentially

leading to criminal liability, over countless judgment calls surrounding whether the statute

prohibits particular pieces of content. And here, the vagueness concern is particularly acute

because Defendant Ellison holds specific animus toward Plaintiff X Corp. and its owner Elon

Musk that appears to be motivated by political disagreements. As recently as February 4, 2025,

Defendant Ellison called Musk a “rich punk,” a “billionaire baby,” and a “fascis[t],” and said it is

“certainly possibl[e]” that he will file a criminal action against Musk.8


7
    Ex. 1 (Ellison PI Opp.) at 30–31, 33–34, 38.
8
  See Ex. 5 (The Dean Obeidallah Show, Minn AG Keith Ellison: We will be looking into potential crimes
committed by Elon Musk (at 04:29, 09:23, 10:00, 16:54), YOUTUBE (Feb. 4, 2025),
https://www.youtube.com/watch?v=SqE7XG-39n4 (last visited Apr. 23, 2025)); see also id. (at 05:15)
(“we’ve filed lawsuits [against Musk], we’re gonna file more”).
                                                    10
      CASE 0:25-cv-01649-JWB-ECW               Doc. 1     Filed 04/23/25      Page 11 of 30




       21.     In pursuing this action, X Corp. seeks declaratory and injunctive relief on the

grounds that Section 609.771 (i) violates the free speech rights of X and other social media

platforms under the First Amendment of the United States Constitution and Article I, Section 3, of

the Minnesota Constitution, both facially and as-applied to Plaintiff; (ii) directly conflicts with,

and is thus preempted by, the immunity afforded to X Corp. by 47 U.S.C. § 230(c)(1); and (iii)

violates the First and Fourteenth Amendments of the United States Constitution because its

requirements are so vague and unintelligible that social media platforms cannot understand what

the statute permits and what it prohibits, which will lead to blanket censorship, including of

valuable political speech.

       22.     In pursuing this action, X Corp. seeks to vindicate the deprivation of constitutional

rights under color of state statute, ordinance, regulation, custom, and/or usage. X Corp. is also

entitled to attorneys’ fees and costs if it prevails on any of its Section 1983 claims. See 42 U.S.C.

§ 1988.

                                            PARTIES

       23.     Plaintiff X Corp. is a corporation organized and existing under the laws of the State

of Nevada, with its principal place of business in Bastrop, Texas. X Corp. provides the X service,

which is a real-time, open, public conversation platform, where people can see every side of a

topic, discover news, share their perspectives, and engage in discussion and debate. X allows

people to create, distribute, and discover content and has democratized content creation and

distribution. X allows users to create and share ideas and information instantly through various

product features, including public posts.




                                                 11
       CASE 0:25-cv-01649-JWB-ECW               Doc. 1     Filed 04/23/25      Page 12 of 30




        24.     Defendant Keith Ellison is the Attorney General of the State of Minnesota and is

charged with enforcing Section 609.771. See § 609.771(4)(1). X Corp. sues Attorney General

Ellison in his official capacity as the person charged with enforcing Section 609.771.

                                         JURISDICTION

        25.     This Court has jurisdiction over X Corp.’s federal claims pursuant to 28 U.S.C.

§§ 1331 and 1343(a) and 42 U.S.C. § 1983, because X Corp. alleges violations of its rights under

the U.S. Constitution and laws of the United States. The Court has jurisdiction over X Corp.’s

state claim pursuant to 28 U.S.C. § 1367.

        26.     This Court has authority to grant declaratory and injunctive relief under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201, 2202, and under the Court’s inherent equitable

jurisdiction.

                                              VENUE

        27.     Venue is proper in this Court under 28 U.S.C. §§ 1391(b)(1) and 1391(b)(2)

because the Defendant is located, resides, and has offices in this judicial district and in the State

of Minnesota, and the violations of X Corp.’s rights are occurring and will occur within this judicial

district. Section 609.771 was also enacted in this judicial district.

                                  FACTUAL ALLEGATIONS

  I.    Section 609.771’s Statutory Scheme

        28.     Section 609.771 applies to a “person who disseminates a deep fake or enters into a

contract or other agreement to disseminate a deep fake” if the “person knows or acts with reckless

disregard about whether the item being disseminated is a deep fake and dissemination: (1) is made




                                                 12
      CASE 0:25-cv-01649-JWB-ECW                    Doc. 1      Filed 04/23/25        Page 13 of 30




without the consent of the depicted individual; (2) is made with the intent to injure a candidate9 or

influence the result of an election; and (3) takes place either: (i) within 90 days before a political

party nominating convention; or (ii) after the start of the absentee voting period prior to a

presidential nomination primary, or a regular or special state or local primary or general election.”

§ 609.771(2)(a).10

        29.      As noted above, under the statute, a “deep fake” is defined as “any video recording,

motion-picture film, sound recording, electronic image, or photograph, or any technological

representation of speech or conduct substantially derivative thereof: (1) that is so realistic that a

reasonable person would believe it depicts speech or conduct of an individual who did not in fact

engage in such speech or conduct; and (2) the production of which was substantially dependent

upon technical means, rather than the ability of another individual to physically or verbally

impersonate such individual.” § 609.771(1)(c).

        30.      A person who disseminates a deep fake or enters into a contract or other agreement

to disseminate a deep fake under the conditions forbidden under the statute is “guilty of a crime”

and “may be sentenced . . . (1) if the person commits the violation within five years of one or more

prior convictions under this section, to imprisonment for not more than five years or to payment

of a fine of not more than $10,000, or both; (2) if the person commits the violation with the intent

to cause violence or bodily harm, to imprisonment for not more than 364 days or to payment of a



9
  “Candidate” means “an individual who seeks nomination or election to a federal, statewide, legislative,
judicial, or local office including special districts, school districts, towns, home rule charter and statutory
cities, and counties.” § 609.771(1)(b).
10
   The statute’s prohibitions are currently triggered under Section 609.771(2)(a)(ii) because (i) Minnesota
sends absentee ballots “at least 46 days before the election,” and (ii) there will be elections in Minnesota
this year on May 13, August 12, and November 4. See Ex. 6 (2025 Minnesota Absentee Ballot Application,
https://www.sos.state.mn.us/media/2444/english-regular-absentee-ballot-application.pdf (last visited Apr.
23, 2025)).

                                                      13
         CASE 0:25-cv-01649-JWB-ECW                  Doc. 1      Filed 04/23/25        Page 14 of 30




fine of not more than $3,000, or both; or (3) in other cases, to imprisonment for not more than 90

days or to payment of a fine of not more than $1,000, or both.” §§ 609.771(2)(a), (3)(a)(1)–(3).

          31.      In addition, a “cause of action for injunctive or equitable relief may be maintained

against any person who is reasonably believed to be about to violate or who is in the course of

violating this section by: (1) the attorney general; (2) a county attorney or city attorney; (3) the

depicted individual11; or (4) a candidate for nomination or election to a public office who is injured

or likely to be injured by dissemination.” § 609.771(4).

          32.      Section 609.771 “does not apply to a broadcaster or cable television system that

disseminates a deep fake produced by a candidate if the broadcaster’s or cable television system’s

dissemination is required by federal law.” § 609.771(2)(b).

          33.      Section 609.771 only applies “(i) within 90 days before a political party nominating

convention; or (ii) after the start of the absentee voting period prior to a presidential nomination

primary, or a regular or special state or local primary or general election.” § 609.771(2)(a).

          34.      X Corp. is, at least, a “person” that—by requiring users to agree to its Terms of

Service12 before they may use the platform, after which the user could engage in conduct prohibited

by the statute—“enters into a contract or other agreement to disseminate a deep fake” under the

circumstances set forth in and proscribed by Section 609.771(2)(a).

 II.      Section 609.771 Impermissibly Substitutes the Government’s Judgment About
          Content Moderation for That of Social Media Platforms

          35.      X and other social media platforms already maintain robust policies and features

that address what they view as problematic content. Because those policies are different from, and



11
  “Depicted individual” means “an individual in a deep fake who appears to be engaging in speech or
conduct in which the individual did not engage.” § 609.771(1)(d).
12
     Ex. 7 (Terms of Service, X, https://x.com/en/tos (last visited Apr. 23, 2025)).

                                                       14
         CASE 0:25-cv-01649-JWB-ECW           Doc. 1     Filed 04/23/25      Page 15 of 30




in certain respects conflict with, those set forth in Section 609.771, Section 609.771 impermissibly

substitutes the State’s content-moderation policies in this important area for those of social media

platforms and impermissibly imposes liability on them for noncompliance with the State’s

preferred content-moderation policies. This violates the First Amendment.

         36.   For instance, the X platform has a feature called “Community Notes” that allows

users to flag content that they believe needs context, which could include “deep fakes,” as defined

under Section 609.771. Through Community Notes, users of the X platform may provide

additional context or information about content that will appear along with the content if enough

of the community’s “contributors,” who otherwise hold diverse viewpoints, deem the additional

commentary to be helpful. And, in recognition of the fast-paced nature of social media, X has

accelerated Community Notes, and now indicates “Lightning Notes” that start appearing on posts

within an hour of being proposed, or within an hour of the post itself going live. Any user can

become a Community Notes “contributor,” so long as they (i) have no recent X rule violations, (ii)

joined X at least six months ago, and (iii) provide a phone number. X provides contributors with

alias profiles that are not linked to their main X profile, and X Corp. does not write or edit these

notes.

         37.   X’s Community Notes feature is so effective that Meta has announced that it will

employ a similar system on Facebook, Instagram, and Threads. See, e.g., Ex. 8 (Community Notes:

A New Way to Add Context to Posts, META TRANSPARENCY CENTER (Apr. 7, 2025),

https://transparency.meta.com/features/community-notes (last visited Apr. 23, 2025)).

         38.   In addition, any X user may comment on posted content, providing additional

context or disagreement in the form of “replies” to a post or by making a separate post that quotes




                                                15
      CASE 0:25-cv-01649-JWB-ECW               Doc. 1    Filed 04/23/25      Page 16 of 30




and comments on the posted content. These general post and reply features on X are likewise an

effective form of counterspeech to combat deceptive or misleading content.

       39.      Another feature on the X platform that combats deceptive or misleading content

using counterspeech is a tool called “Grok AI – Explain This Post.” The tool, which users can

employ by clicking a button on the top-right corner of a post, leverages Grok, X’s artificial

intelligence chat bot, to provide detailed context and information about particular posts, which can

help the user understand whether the content is truthful and/or is generated using artificial

intelligence.

       40.      X also maintains an “Authenticity” Policy that covers “Synthetic and Manipulated

Media,” under which users “may not share inauthentic media, including, manipulated, or out-of-

context media that may result in widespread confusion on public issues, impact public safety, or

cause harm (‘misleading media’).” Ex. 9 (Authenticity, X (Jan. 2025), https://help.x.com/en/rules-

and-policies/authenticity (last visited Apr. 23, 2025)). Under the policy, in “situations where [X

is] unable to reliably determine if [the content] is misleading media, [X] may not take action.” Id.

How X enforces its Authenticity Policy “depend[s] on the severity of the violation as well as any

previous history of violations.” Id. One such way in which X may “take action” to enforce its

policy is to label posts containing misleading media, to help people understand the content’s

authenticity, and to provide additional context.

       41.      Under X’s Authenticity Policy—which is publicly available to all users of the

platform as well as to the public generally—X considers, e.g., the following in determining

whether to remove and/or label content:

             a. Whether the media is “significantly and deceptively altered, manipulated, or

                fabricated in a way that fundamentally changes its meaning and can result in



                                                   16
      CASE 0:25-cv-01649-JWB-ECW               Doc. 1     Filed 04/23/25     Page 17 of 30




                widespread confusion on public issues, impact public safety, or cause serious

                harm”; and

             b. Whether the media is “shared in a deceptive manner or out-of-context or with intent

                to deceive people about the nature or origin of the content and can result in

                widespread confusion on public issues, impact public safety, or cause serious

                harm[.]” Id.

       42.      X’s Authenticity Policy also makes clear that “[s]haring manipulated or out-of-

context media in non-deceptive ways” is “[a]llowed” under the policy. Id.

       43.      Other covered platforms—e.g., Meta, YouTube, TikTok, Snapchat, Rumble, and

Google Search—likewise have their own policies designed to address false, misleading, and/or

manipulated media. Each has a different approach to addressing such content. And each approach

is different from the State’s approach embodied in Section 609.771.

       44.      Social media content moderation is an inherently controversial undertaking. How

social media companies apply their content-moderation rules to particular posts is a sensitive and

controversial exercise that is subject to rigorous debate and controversy. Put another way, deciding

what content should appear on a social media platform is a question that engenders considerable

debate among reasonable people about where to draw the correct proverbial line.             This is

particularly true of election-related content and is certainly true of the type of content that is

arguably covered by Section 609.771’s definition of deep fakes.

       45.      The State has never explained why X’s Authenticity Policy, combined with its

“Community Notes” program, use of Grok AI, and other comment and reply features, are

insufficient to address the “deep fake” content targeted by Section 609.771. In fact, they work

very well.



                                                 17
       CASE 0:25-cv-01649-JWB-ECW             Doc. 1    Filed 04/23/25       Page 18 of 30




        46.    Nor has the State explained why the policies of other social media platforms,

coupled with counterspeech from other users of the platforms—including counterspeech from

Defendant Ellison’s office and other government officials—are insufficient to address the “deep

fake” content targeted by Section 609.771 in a less speech-restrictive manner.

III.    Defendant Ellison’s Animus Toward Plaintiff X Corp. and Elon Musk

        47.    Defendant Ellison has displayed specific animus toward X Corp. and its owner Elon

Musk.

        48.    On September 2, 2024, Defendant Ellison’s X account posted the following

message in Portuguese thanking Brazil: “obrigado Brasil!” Ex. 10 (Keith Ellison (@keithellison),

X (Sept. 2, 2024, 5:33 PM), https://x.com/keithellison/status/1830720700019028109?lang=en

(last visited Apr. 23, 2025)).

        49.    Defendant Ellison’s post followed the Brazilian government blocking the X

platform throughout the country and initiating a criminal investigation against Elon Musk, which

occurred because X refused to follow Brazilian court orders to censor opposition voices, including

opposition government officials in Brazil.

        50.    Not only has Defendant Ellison failed to publicly explain the meaning of his

September 2, 2024 post, or even condemn the Brazilian government’s censorship of oppositionist

government officials, he has continued to post about, and criticize, Musk.

        51.    As recently as February 4, 2025, on a YouTube show, Defendant Ellison called

Musk a “rich punk,” a “billionaire baby,” and a “fascis[t].” See Ex. 5 (The Dean Obeidallah Show,

Minn AG Keith Ellison: We will be looking into potential crimes committed by Elon Musk (at

04:29, 10:00, 16:54), YOUTUBE (Feb. 4, 2025), https://www.youtube.com/watch?v=SqE7XG-

39n4 (last visited Apr. 23, 2025)). Defendant Ellison even said, in no uncertain terms, that it is



                                               18
        CASE 0:25-cv-01649-JWB-ECW                Doc. 1     Filed 04/23/25        Page 19 of 30




“certainly possibl[e]” he will file a criminal action against Musk. Id. (at 9:23); see also id. (at

05:15) (“we’ve filed lawsuits [against Musk], we’re gonna file more”).

         52.    While Defendant Ellison has every right to voice personal opinions, what he may

not do is use the government as a vehicle to criminally target individuals based on personal or

political animus, as he has threatened to do. Defendant Ellison’s specific animus toward X Corp.

and Musk exacerbates Section 609.771’s constitutional infirmities as-applied to X Corp. This is

particularly so, given that the statute’s vagueness gives Defendant Ellison unfettered discretion to

selectively prosecute those, like X Corp. and Elon Musk, that he apparently perceives to be his

political enemies.

                                    FIRST CAUSE OF ACTION

     (Declaratory Relief and Injunctive Relief for Violations of the First Amendment of the
     United States Constitution (42 U.S.C. § 1983) and Article I, Section 3, of the Minnesota
                             Constitution—Facial and As-Applied)

         53.    X Corp. realleges and incorporates herein by reference each and every allegation

set forth above.

         54.    Section 609.771 violates the First Amendment of the United States Constitution

and Article I, Section 3, of the Minnesota Constitution by providing injunctive or equitable

enforcement and carrying criminal penalties of imprisonment and significant fines against social

media platforms like X, if they do not censor content on their platforms to the State’s liking—that

is, if the platform violates the statute or is “reasonably believed to be about to violate” the statute.13




13
   Section 609.771 violates Article I, Section 3, of the Minnesota Constitution for all of the same reasons
that it violates the First Amendment of the United States Constitution. See Tatro v. Univ. of Minn., 816
N.W.2d 509, 516 (Minn. 2012) (“Because the Minnesota constitutional right to free speech is coextensive
with the First Amendment, we look primarily to federal law for guidance.”); Minn. Majority v. Mansky,
708 F.3d 1051, 1054 n.1 (8th Cir. 2013) (“[Minnesota Constitution claims] are evaluated using the same
standard as those under the U.S. Constitution.”).

                                                    19
      CASE 0:25-cv-01649-JWB-ECW                Doc. 1      Filed 04/23/25      Page 20 of 30




        55.     First, Section 609.771 imposes a prior restraint on speech, which is the “most

serious and the least tolerable infringement on First Amendment rights,” Stuart, 427 U.S. at 559,

and does so as to speech concerning “public issues and debate on the qualifications of candidates,”

to which the “First Amendment affords the broadest protection” to protect the “unfettered

interchange of ideas for the bringing about of political and social changes desired by the people.”

McIntyre, 514 U.S. at 346.

        56.     The statute imposes a prior restraint on speech because Section 609.771(4) provides

causes of action for injunctive or equitable relief, backed by criminal penalty, against persons that

have not yet violated the statute, i.e., before the content has ever been disseminated. See

§ 609.771(4) (imposing causes of action for injunctive or equitable relief against persons

“reasonably believed to be about to violate” the statute). Section 609.771 also imposes such

lawsuits with respect to content that has already been disseminated—that is, against persons that

are “in the course of violating” the statute, § 609.771(4)—which is a prior restraint on speech as

well. See, e.g., Garcia, 786 F.3d at 747 (forcing the “takedown” of previously published speech

was a “classic prior restraint”). Because Section 609.771 is a “system of prior restraints of

expression,” there is “heavy presumption against its constitutional validity,” which it does not

overcome. Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 70 (1963); accord Garcia, 786 F.3d at

747 (noting the “historical and heavy presumption against such restraints”).

        57.     Second, because Section 609.771 imposes content-, viewpoint-, and speaker-based

speech restrictions, it triggers constitutional review under strict scrutiny, which it cannot withstand.

        58.     Social media platforms, such as X, “present[] a curated and ‘edited compilation of

[third party] speech,’” which “is itself protected speech.” Moody, 603 U.S. at 744 (quoting Hurley,

515 U.S. at 570); see also id. at 729–30 (“A private party’s collection of third-party content into a



                                                  20
      CASE 0:25-cv-01649-JWB-ECW               Doc. 1     Filed 04/23/25      Page 21 of 30




single speech product (the operators’ ‘repertoire’ of programming) is itself expressive, and

intrusion into that activity must be specially justified under the First Amendment.”).

       59.     By forcing social media platforms to remove and modify particular speech that they

may not otherwise remove or modify—i.e., certain election-related “deep fake[s]”—Section

609.771 forces platforms to “speak a particular message,” thus “alter[ing] the content of their

speech” and rendering the statute “content-based.” X Corp. v. Bonta, 116 F.4th 888, 900 (9th Cir.

2024) (quoting Nat’l Inst. of Fam. & Life Advocs. v. Becerra (“NIFLA”), 585 U.S. 755, 766

(2018)); see also Wash. Post v. McManus, 944 F.3d 506, 511–13, 519 (4th Cir. 2019) (striking

down state law that required, in an effort to address foreign interference in U.S. elections, “online

platforms,” within “48 hours of an ad being purchased,” to “display somewhere on their site the

identity of the purchaser, the individuals exercising control over the purchaser, and the total

amount paid for the ad,” and declaring the law “a compendium of traditional First Amendment

infirmities” that would “chill speech”); id. at 515 (“each banner feature of the Act—the fact that it

is content-based, targets political expression, and compels certain speech—poses a real risk of

either chilling speech or manipulating the marketplace of ideas”).           Section 609.771 also

impermissibly substitutes the judgment of the government for that of social media platforms as to

what constitutes a “deep fake” covered by the statute and whether it should remain on their

platforms.

       60.     In addition, the underlying content that the statute targets—i.e., the content

delineated in Section 609.771(2)(a)—is itself constitutionally protected. In other words, because

Section 609.771(2)(a) does not require actual injury, the speech prohibited thereunder is not

inherently defamatory speech that is unprotected by the First Amendment. See Kohls, 752 F. Supp.




                                                 21
      CASE 0:25-cv-01649-JWB-ECW               Doc. 1      Filed 04/23/25      Page 22 of 30




3d at 1193 (holding that AB 2839 “does much more than punish potential defamatory statements

since the statute does not require actual harm”).

       61.     Accordingly, Section 609.771 is a content-based law—that is, it “target[s] speech

based on its communicative content,” Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015)—

and no exception applies here to the longstanding rule that such regulations trigger strict scrutiny.

NIFLA, 585 U.S. at 767 (quoting Brown v. Ent. Merchs. Assn., 564 U.S. 786, 792 (2011) (“This

Court’s precedents do not permit governments to impose content-based restrictions on speech

without persuasive evidence . . . of a long (if heretofore unrecognized) tradition to that effect.”)).

By “specifically target[ing] speech within political or electoral content pertaining to candidates,”

Section 609.771 “delineates acceptable and unacceptable content based on its purported truth or

falsity and is an archetypal content-based regulation that our constitution considers dubious and

subject to strict scrutiny.” See Kohls, 752 F. Supp. 3d at 1195.

       62.     The statute triggers strict scrutiny for two additional reasons. First, it discriminates

based on the identity of the speaker, by exempting, pursuant to Section 609.771(2)(b), certain

“broadcaster or cable television system[s].” See, e.g., Sorrell v. IMS Health Inc., 564 U.S. 552,

571 (2011) (laws that interfere with the speech rights of only certain speakers “justify application

of heightened scrutiny” particularly when they are aimed at specific content); see also Moody, 603

U.S. at 738 (quoting Tornillo, 418 U.S. at 258) (the First Amendment applies to social media

platforms as it does to traditional media). Second, Section 609.771 discriminates based on

viewpoint, because it permits election-related content that is “positive about a person,” while

restricting such content if it is “derogatory.” Iancu v. Brunetti, 588 U.S. 388, 393 (2019) (quoting

Matal v. Tam, 582 U.S. 218, 249 (2017) (Kennedy, J., concurring) (explaining that such




                                                 22
      CASE 0:25-cv-01649-JWB-ECW                  Doc. 1     Filed 04/23/25        Page 23 of 30




differential treatment “reflects the Government’s disapproval of a subset of messages it finds

offensive” and “is the essence of viewpoint discrimination”)).

        63.     Section 609.771 may stand, then, only if the government proves that the statute is

“narrowly tailored to serve compelling state interests,” NIFLA, 585 U.S. at 766 (quoting Reed, 576

U.S. at 163), and no “less restrictive alternative would serve the [g]overnment’s purpose,” X Corp.,

116 F.4th at 903 (quoting United States v. Playboy Ent. Grp., Inc., 529 U.S. 803, 813 (2000)).

        64.     Section 609.771 fails strict scrutiny because, even if Minnesota has a compelling

interest in electoral integrity, the statute is not the “least restrictive means” available to further that

interest, and the State may “regulate the content of constitutionally protected speech” only “if it

chooses the least restrictive means” to do so. Playboy Ent. Grp., Inc., 529 U.S. at 813; see also

Kohls, 752 F. Supp. 3d at 1191, 1195–96 (striking down AB 2839 under strict scrutiny because it

was not the “least restrictive means available for advancing the State’s interest” in “protecting the

integrity and reliability of the electoral process,” given that “[o]ther statutory causes of action such

as privacy torts, copyright infringement, or defamation already provide recourse to public figures

or private individuals whose reputations may be afflicted by artificially altered depictions peddled

by satirists or opportunists on the internet”); Ex parte Stafford, 2024 WL 4031614, at *4–6 (Tex.

Crim. App. Sept. 4, 2024) (applying strict scrutiny and striking down on First Amendment grounds

Texas statute prohibiting “knowingly represent[ing] in a campaign communication that the

communication emanates from a source other than its true source” because there were “narrower

means of achieving the State interests,” including enforcing an existing statute). Moreover, it is

not a “valid, let alone substantial” interest for a state to seek “to correct the mix of speech” that

“social-media platforms present.” Moody, 603 U.S. at 740; see also id. at 744 (quoting Pac. Gas




                                                    23
         CASE 0:25-cv-01649-JWB-ECW               Doc. 1      Filed 04/23/25      Page 24 of 30




& Elec. Co., 475 U.S. at 20) (“[A] State ‘cannot advance some points of view by burdening the

expression of others.’”).14

          65.     Section 609.771 also fails strict scrutiny because it is woefully underinclusive, as it

only applies during a fraction of the year. See § 609.771(2)(a) (applying only “(i) within 90 days

before a political party nominating convention; or (ii) after the start of the absentee voting period

prior to a presidential nomination primary, or a regular or special state or local primary or general

election”). This undermines any argument by the government that Section 609.771 supports a

compelling state interest in banning deep fakes.

          66.     Section 609.771 is facially invalid under the First Amendment because “a

substantial number of [the law’s] applications are unconstitutional, judged in relation to the

statute’s plainly legitimate sweep.” Americans for Prosperity Found. v. Bonta, 594 U.S. 595, 615

(2021). It is also unconstitutional as-applied to X Corp.

          67.     There is a bona fide and actual controversy between X Corp. and Defendant

because Defendant is charged with enforcing, and intends to enforce, Section 609.771, even though

it violates the First Amendment of the United States Constitution and Article I, Section 3, of the

Minnesota Constitution, both facially and as-applied to X Corp.

          68.     X Corp. maintains that Section 609.771 is illegal and unconstitutional. Defendant

claims otherwise.

          69.     X Corp. requests a judicial determination regarding the validity of Section 609.771

to prevent the harm caused by its enactment. Such a determination is both necessary and

appropriate to avoid the deprivation of X’s and other social media platforms’ constitutional rights,

which would occur if Section 609.771 is applied to X or any other platform.


14
     Nor would Section 609.771 survive under any lesser standard of review.

                                                    24
      CASE 0:25-cv-01649-JWB-ECW               Doc. 1     Filed 04/23/25     Page 25 of 30




       70.     Given the violation of the First Amendment of the United States Constitution and

Article I, Section 3, of the Minnesota Constitution, X Corp. seeks injunctive relief against

enforcement of Section 609.771. X and other social media platforms covered by the statute would

be irreparably harmed if they were forced to comply with Section 609.771’s requirements and have

no adequate remedy at law.

                                SECOND CAUSE OF ACTION

   (Declaratory Relief and Injunctive Relief for Immunity Under and Preemption by 47
                                    U.S.C. § 230(c)(1))

       71.     X Corp. realleges and incorporates herein by reference each and every allegation

set forth above.

       72.     47 U.S.C. § 230(c)(1) directly conflicts with, and thus preempts, Section 609.771.

       73.     47 U.S.C. § 230(e)(3) provides that “[n]o cause of action may be brought and no

liability may be imposed under any State or local law that is inconsistent with this section.”

       74.     Section 609.771 imposes liability on social media platforms by holding them

responsible for the content of what is on their platforms, as if they were the publisher of that

content. It requires removal of content that the State disfavors (i.e., “deep fake[s]” that are

otherwise covered by the statute) and imposes criminal liability on the platforms if they do not

comply to the satisfaction of the State. See §§ 609.771(2)–(3).

       75.     “Liability” under Section 230(e)(3) includes being subjected to the kind of

injunctive and other equitable relief authorized by Section 609.771(4).

       76.     X is an “interactive computer service,” as that term is defined under 47 U.S.C.

§ 230(f)(2).




                                                25
      CASE 0:25-cv-01649-JWB-ECW              Doc. 1     Filed 04/23/25       Page 26 of 30




       77.     Section 609.771 directly contravenes the immunity provided to social media

platforms by 47 U.S.C. § 230(c)(1), which prohibits treating interactive computer service providers

as the “publisher or speaker of any information provided by another information content provider.”

       78.     Section 609.771 violates Section 230(c)(1) because it provides causes of action for

“injunctive or equitable relief” and for potential criminal penalties, including imprisonment and

fines, on account of content posted on their platforms by users. Section 609.771 thus treats social

media platforms “as the publisher or speaker of [] information provided by another information

content provider,” 47 U.S.C. § 230(c)(1), and imposes liability against them that is inconsistent

with the immunity provided by Section 230(c)(1).

       79.     Section 230(c)(1) bars “lawsuits seeking to hold a service provider liable for its

exercise of a publisher’s traditional editorial functions—such as deciding whether to publish,

withdraw, postpone or alter content.” Johnson v. Arden, 614 F.3d 785, 792 (8th Cir. 2010)

(“declin[ing]” to “construe § 230(c)(1) as permitting liability against [service provider] for

material originating with a third party”); see, e.g., Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1102–

03 (9th Cir. 2009) (finding that Yahoo! was entitled to immunity under Section 230(c)(1) for

“reviewing, editing, and deciding whether to publish or to withdraw from publication third-party

content”), as amended (Sept. 28, 2009); Calise v. Meta Platforms, Inc., 103 F.4th 732, 744 (9th

Cir. 2024) (finding that Meta was immune under Section 230(c)(1) from claims that would require

it to “actively vet and evaluate third-party ads” in order to remove them).

       80.     There is a bona fide and actual controversy between X Corp. and Defendant

because Defendant is charged with enforcing, and intends to enforce, Section 609.771, even though

such enforcement is precluded and preempted by 47 U.S.C. § 230(c)(1).




                                                26
      CASE 0:25-cv-01649-JWB-ECW               Doc. 1      Filed 04/23/25      Page 27 of 30




       81.     X Corp. maintains that Section 609.771 is invalid and void as a matter of law

because it is preempted by 47 U.S.C. § 230(c)(1). Defendant claims otherwise.

       82.     X Corp. seeks a declaratory judgment that Section 609.771 is legally invalid and

unenforceable, because it is precluded and preempted by 47 U.S.C. § 230(c)(1).

       83.     Given the violation of 47 U.S.C. § 230(c)(1), X Corp. seeks injunctive relief against

enforcement of Section 609.771. X Corp. would be irreparably harmed if it were forced to comply

with, or litigate, Section 609.771’s requirements and has no adequate remedy at law.

                                  THIRD CAUSE OF ACTION

    (Declaratory Relief and Injunctive Relief for Violations of the First and Fourteenth
     Amendments of the United States Constitution (42 U.S.C. § 1983) for Vagueness)

       84.     X Corp. realleges and incorporates herein by reference each and every allegation

set forth above.

       85.     Section 609.771 is void for vagueness under the First and Fourteenth Amendments

of the U.S. Constitution because the statute’s prohibitions are so unintelligible that they “fail[] to

provide a person of ordinary intelligence fair notice of what is prohibited” and are “so standardless

that [they] authorize[] or encourage[] seriously discriminatory enforcement.” Fantasysrus 2,

L.L.C. v. City of E. Grand Forks, Minn., 881 F. Supp. 2d 1024, 1032 (D. Minn. 2012) (quoting

United States v. Williams, 553 U.S. 285, 304 (2008)).

       86.     X, other social media platforms, and other “persons” covered by the statute cannot

understand what Section 609.771 prohibits. Nor would “a person of ordinary intelligence.”

       87.     Those covered by the statute cannot understand what constitutes a “[d]eep fake”

under Section 609.771(1)(c), because they cannot understand what content is “so realistic that a

reasonable person would believe it depicts speech or conduct of an individual who did not in fact

engage in such speech or conduct.”         § 609.771(1)(c)(1).     Nor can they determine when

                                                 27
      CASE 0:25-cv-01649-JWB-ECW                Doc. 1      Filed 04/23/25     Page 28 of 30




“production”    of    the   content   is   “substantially   dependent   upon    technical   means.”

§ 609.771(1)(c)(2).

       88.     Those covered by the statute cannot understand what it means under the statute to

“disseminate[] a deep fake or enter[] into a contract or other agreement to disseminate a deep

fake.” § 609.771(2)(a).

       89.     Those covered by the statute cannot understand when such dissemination is made

“with reckless disregard about whether the item being disseminated is a deep fake”; “without

the consent of the depicted individual”; or “with the intent to injure a candidate or influence

the result of an election.” § 609.771(2)(a).

       90.     Due to the vagueness and ambiguity of these terms and phrases, Section 609.771

fails to provide “a reasonable opportunity to know what” the statute “prohibit[s].” D.C. v. City of

St. Louis, Mo., 795 F.2d 652, 653 (8th Cir. 1986).

       91.     Section 609.771 “impermissibly delegates basic policy matters to policemen,

judges, and juries for resolution on an ad hoc and subjective basis, with the attendant dangers of

arbitrary and discriminatory application.” Id. (emphasis in original); see also, e.g., NAACP v.

Button, 371 U.S. 415, 432 (1963) (holding that the “standards of permissible statutory vagueness

are strict in the area of free expression”). This is particularly dangerous with this statute, given

that Defendant is charged with enforcing Section 609.771 and has openly expressed animus toward

Elon Musk, the Executive Chairman and Chief Technology Officer of X Corp.

       92.     There is a bona fide and actual controversy between X Corp. and Defendant

because Defendant is charged with enforcing, and intends to enforce, Section 609.771, even though

it violates the First and Fourteenth Amendments of the United States Constitution for vagueness.




                                                 28
      CASE 0:25-cv-01649-JWB-ECW               Doc. 1     Filed 04/23/25    Page 29 of 30




       93.     X Corp. maintains that Section 609.771 is illegal and unconstitutional because it is

void for vagueness under the First and Fourteenth Amendments of the United States Constitution.

Defendant claims otherwise.

       94.     X Corp. requests a judicial determination regarding the validity of Section 609.771

to prevent the harm caused by its enactment. Such a determination is both necessary and

appropriate to avoid the deprivation of X’s and the other social media platforms’ constitutional

rights, which would occur if Section 609.771 is applied to X or any other social media platform.

       95.     Given the violation of the First and Fourteenth Amendments of the United States

for vagueness, X Corp. seeks injunctive relief against enforcement of Section 609.771. X and

other covered platforms would be irreparably harmed if they were forced to comply with Section

609.771’s requirements and have no adequate remedy at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, X Corp. respectfully requests that this Court enter judgment in X Corp.’s

favor and grant the following relief:

       1.      A declaration that Section 609.771 violates the First Amendment of the United

States Constitution and Article I, Section 3, of the Minnesota Constitution, both facially and as-

applied to X Corp.;

       2.      A declaration that Section 609.771 is precluded and preempted by 47 U.S.C.

§ 230(c)(1) and is therefore null and void and has no legal effect;

       3.      A declaration that Section 609.771 violates the First and Fourteenth Amendments

of the United States Constitution for vagueness;

       4.      A permanent injunction enjoining Defendant and his employees, agents, and

successors in office from enforcing Section 609.771;



                                                29
      CASE 0:25-cv-01649-JWB-ECW               Doc. 1    Filed 04/23/25      Page 30 of 30




        5.      An award of fees, costs, expenses, and disbursements, including attorneys’ fees, to

which X Corp. is entitled pursuant to 42 U.S.C. § 1988 and other applicable law; and

        6.      Such other and further relief as the Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38, X Corp. demands a trial by jury in this

action of all issues so triable.



Dated: April 23, 2025


                By: /s/ Erick G. Kaardal
                        Erick G. Kaardal (SBN 229647)
                        MOHRMAN, KAARDAL & ERICKSON, P.A.
                        150 S. Fifth St., Ste. 3100
                        Minneapolis, MN 55402
                        Phone: 612-746-7724
                        Facsimile: 612-341-1076
                        kaardal@mklaw.com

                        CAHILL GORDON & REINDEL LLP
                        Joel Kurtzberg (pro hac vice pending, SBN NY 2835007)
                        Floyd Abrams (pro hac vice pending, SBN NY 1758184)
                        Jason Rozbruch (pro hac vice pending, SBN NY 5753637)
                        32 Old Slip
                        New York, NY 10005
                        Phone: 212-701-3120
                        Facsimile: 212-269-5420
                        jkurtzberg@cahill.com
                        fabrams@cahill.com
                        jrozbruch@cahill.com




                                                30
